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8 IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
AT TACOMA
10 WASHINGTON PROTECTION AND ) 6) <
ADVOCACY SYSTEM, INC , ) es) ™= () 6 S
117 a Washington non-profit corporation, ) NO
12 Plaintiff, )
) COMPLAINT FOR INJUNCTIVE
13 v AND DECLARATORY RELIEF
14
EVERGREEN SCHOOL DISTRICT and )
15] RICHARD MELCHING, 1n his official capacity )
as the Superintendent of the Evergreen School 4
16 District, }
)
7 Defendants )
18
19 I, PRELIMINARY STATEMENT
20 This action seeks injunctive and declaratory relief pursuant to 42 USC § 1983 to
21 || prevent the Evergreen School District and Richard Melching, Superintendent of the Evergreen
27}, School District (heremafter “the District”), from unlawfully restricting or mterfermg with full,
23 || complete, and meaningful access of the Washington Protection and Advocacy System, Inc
94|| (hereinafter "WPAS"), to children with disabilities who attend public school in the Evergreen
25} Schoo! District (heremafter “Distnct”). WPAS seeks directory information for children with
96 |) disabilities who attend public school in the District for whom WPAS has probable cause to
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believe have been or may be discriminated against, abused and/or neglected due to their
disabulities
IL, JURISDICTION AND VENUE

21 This action arises under the Constitution and laws of the United States It seeks
declaratory and myunctive relief pursuant to the Civil Rights Act, 42 U.S.C. § 1983, to redress
the deprivation, under color of state law, of nghts secured to WPAS by the Constitution of the
United States and federal law

22  Junsdiction in this matter is asserted pursuant to 28 USC §§ 1331, 1343 and
1367 for causes of action arising under the Civil Rights Act, 42 U SC § 1983, as well as
under federal constitutional, statutory and common law of the United States.

23 The nghts which WPAS seeks to redress are guaranteed by the mandates set
forth in the Developmental Disabilities Assistance and Bill of Rights Act (heremafter “DD
Act”), 42 USC § 15041, et seq, as amended, and the regulations promulgated thereto; the
Protection and Advocacy for Individuals with Mental Illness Act (hereinafter “PAIMI”), 42
USC § 10801, ef seg , as amended, and the regulations promulgated thereto, the Protection
and Advocacy of Individual Rights (hereinafter “PAIR”) Act, 29 USC § 794e, et seq , and the
regulations promulgated thereto, the Protection for Advocacy for Individuals with Traumatic
Brain Injuries Act (heremafter “PATBI”), 42 USC. § 300d-52, and the regulations
promulgated thereto, to protect and advocate for individuals with mental or developmental
disabilities, and/or traumatic brain injuries for whom WPAS has probable cause to believe have
been or may be discriminated against, abused and/or neglected, and by the First Amendment to

the United States Constitution, and state law pursuant to RCW 71A 10 080 et seg

24 The court has pendent jurisdiction over the plaintiffs state law claim under
RCW 714010 080 as it derives from the same nucleus of operative facts as the plaintiffs

federal claims

25 This Court also has authonty pursuant to 28 U SC §§ 2201 and 2202 to enter

declaratory judgments declaring the nghts and other legal relations of parties to the action, as

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well as 42 USC. § 1983, and authority pursuant to 42 U.S.C, §§ 1983 and 1988 to award
plaintiff reasonable attorneys’ fees and costs expended herein

26 An award of monetary damages 1s madequate as WPAS has suffered and will
continue to suffer wreparable harm from defendants’ actions, inactions, policies, procedures
and the violations complained herein

27 Venue is proper in this Court pursuant to 28 U.S.C. §1391(b) as all parties reside
in the State of Washington and each of the plamtiff’s claims for reef arises within this state
All defendants performed the acts and/or omissions complained of herein in the State of
Washington 1n the Western District of Washington The Western District in Tacoma provides
the most convenient forum for the litigation of these issues

Il, PARTIES
PLAINTIFF

31 Plaintiff WPAS, a nonprofit corporation duly organized and existing under the
laws of the state of Washington, is the statewide protection and advocacy system designated by
the Governor of the State of Washington to protect and advocate for the legal and civil rights of
those citizens of this state who have disabilities, pursuant to the DD Act, 42 U.S C. § 15041, ef
seq, the PAIMI Act 42 USC § 10801, ef seq , as amended, the PAIR Act, 29USC § 794,
et seq, the PAAT Act, 29 USC § 2201, the PATBI Act, 42 USC § 300d-52, and RCW
71410080  WPAS maintains its offices at 180 West Dayton, Suite 102, in Edmonds,
Washington

3.2 As the duly designated statewide protection and advocacy agency for individuals
with disabilities in the State of Washington, WPAS has the authority and responsibility to
pursue legal, administrative, and such other appropriate remedies or relief as may be necessary
to protect and advocate for the rights of those persons within the State of Washington who are,
or who may be ehgible for treatment, services, or habilitation due to their physical and/or
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mental disabilities. DD Act, 42 U.S.C § 15041, ef seq.; the PAIMI Act 42 USC § 10801,
et seg , as amended; the PAIR Act, 29 USC § 794e, et seg , and the PAAT Act, 29 USC §
2201, and the PATBI Act, 42 US C. § 300d-52, and RCW 71A 10 080

33 In its capacity as the designated protection and advocacy system for the State of
Washington, WPAS 1s entitled to access to all present and future persons with disabilities,
individually or as a group, who attend school in the District, and their directory information,
including, but not limited to the names of such children’s legal guardian’s, their phone numbers
and addresses, among other federally mandated access mghts, in order to adequately and
meaningfully protect their rights pursuant to federal and state statutes in regard thereto

34 WPAS has and will continue to suffer irreparable harm as a result of defendants’
actions or inactions absent prelaminary and permanent injunctive and declaratory relkef

DEFENDANTS

1) The Evergreen School District

35 The Evergreen School District 1s located in Clark County, Washington and 1s
fully accredited as a public provider of educational services, including special education, by the
State Board of Education pursuant to RCW 28A 305 130 and WAC 180-55-010 ef seq It is
located in the Western District of Washington near Vancouver, Washington Its mailing
address 1s: 13501 NE 28th Street, P.O Box 8910, Vancouver, WA 98668-8910

36 At all times relevant to this cause, the defendants, knew or should have known
of the policies, practices, acts and conditions alleged herein

3.7. At ail times relevant hereto, all of the defendants have been operating under
color of law, custom, and usage of the State of Washington.

2) Richard Melching

38 Defendant Richard Melching is sued in his official capacity as the
Superintendent of the Evergreen Schoo! District
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39 Defendant Melching’s administrative office 1s located in Vancouver,
Washington, and his mailmg address is as follows 13501 NE 28th Street, PO Box 8910,
Vancouver, WA 98668-8910.

3.10 Defendant Melching, in his official capacity, is charged with and has, at all
tumes relevant herein, exercised general responsibility, supervision, and oversight for
formulating the policies and practices of the District, and more specifically, the promulgation.
administration, implementation, supervision, and control of the rules, regulations, policies, and
laws relating to the provision and coordination of all of the programs, and services offered to
those children with disabilities by and/or through the District

IV. FACTUAL ALLEGATIONS

41 Plaintiff hereby realleges and incorporates herein, paragraphs 1 1-3 11

42 At all times relevant herein, WPAS has been, and is, designated by the Governor
of the State of Washington as the protection and advocacy system agency for those citizens of
this state who have mental, developmental, and physical disabilities

43 WPAS, like all of the protection and advocacy agencies currently operating in
the other forty-nine states, the federal protectorates (American Samoa, the Commonwealth of
the North Mariana Islands, Guam, Puerto Rico, the Republic of Palau, and the United States
Virgin Islands), and the District of Columbia, was originally created pursuant to the mandates
of the DD Act, 42 U.S.C § 10541, ef seg , to protect and advocate for individuals with
developmental disabilities from abuse and neglect and to advocate for their rights

44 | WPAS’ mandate as the protection and advocacy system for the State of
Washington was extended in 1986 to individuals labeled as having mental illnesses 1n facilities
pursuant to the PAIMI Act, 42 USC § 10801, ef seg., as amended, and 1n 1994 to those
individuals with disabilities who were not already eligible for protection and advocacy services
under the DD or PAIMI Acts under the PAIR Act, 29U.S C § 794(e), ef seq , and the PAAT
Act, 29U SC § 2201 In 2002, this authority was expanded by the passage of the PATBI Act,
42 USC § 300d-52 to persons with traumatic brain inguries.

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45  Asaresult of the extensive Congressional hearings preceding each of the
aforesaid statutory enactments, Congress found that there had been an extensive history of
unlawful discriminatory segregation, extraordinary maltreatment, financial exploitation,
neglect, and physical abuse of individuals with disabilities

46 The DD, PAIMI, PATBI, PAIR, and PAAT Acts require that each state, in
exchange for receipt of certain federal financial assistance, “ effect a system to protect and
advocate for the nghts of persons ~ with disabilities and further specify that these systems,
must have the authority to investigate and pursue legal and other appropriate remedies for those
individuals DD Act, 42 U.S.C § 10540, et seg, as amended; PAIMI, 42 U.S C § 10805 et
seq ,as amended, and PAIR, 29 U.S.C. § 794(£)(3), and PAAT, 29 USC § 2201, PATBI, 42
USC §300d-52

4.7. The Washington state legislature also provided for this system with the
enactment of RCW 71A 10.080 Under RCW 71A 10 080(1), the designated protection and
advocacy system for the state of Washington “shall have the authority to pursue legai,
administrative, and other appropriate remedies to protect the nghts of the developmentally
disabled and to investigate allegations of abuse and neglect.” Similar authority 1s granted to the
designated protection and advocacy system to “pursue legal, administrative, and other
appropriate remedies to protect the nghts of the mentally 1ll persons and to mvestigate
allegations of abuse or neglect ” under RCW 71A 10 080(2).

48 WPAS, 1n accordance with its federal mandates, duties, and responsibilities as
the designated protection and advocacy system for the state of Washington under federal and
state law, has employed attorneys and advocates to perform and provide protection and
advocacy services to those citizens of the State of Washington who have mental,
developmental, physical and other disabilities

49 WPAS currently provides protection and advocacy services to a child with
developmental disabilities who attends school at the Heritage High School in the Evergreen

School District

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410 Inlate 2002, WPAS received a complaint from a parent that children with
disabilities in the District are required to collect garbage, recyclable trash and perform other
janitorial tasks as part of their educational plans See Declaration of John Finders, attached
hereto as Exhibit 2 Such tasks were alleged to occur as part of the children with disabilities’
“Work Experience” and “Life Skills” courses at Heritage High School Jd

411 WPAS began its investigation of the complaint and sent a probable cause letter
to the Heritage High School’s Special Services Department on December 6, 2002, requesting
that Heritage produce directory information for other children with disabilities in the special
education program who also are collecting garbage and/or collecting lunch tables and chairs as
part of their “Work Experience” program, and/or collecting recycling for the school, or
performing other janitorial tasks at the school See Letter of 12/6/02, attached hereto as
Exhibit 3A

412 On information and belief the District has custody, possession and/or control of
the information requested by WPAS 1n its letter of December 6, 2002 to the District

413 Inthe same letter of December 6, WPAS also requested general information
regarding the “Work Experience’ program, including all policies, goals, criteria and
descriptions of the program and it’s requirements Id

414 The District, through its counsel, Lawrence Ransom, verbally contacted WPAS
on December 11, 2002, and stated that the District would not produce the records requested in
WPAS’ December 6, 2002 letter, clarming that WPAS lacked the authority to obtain such
information without the consent of the affected student’s parents or guardians See Decl of
Herrvel 45, 11, attached hereto as Ex 3, Decl. of David Girard, §3-6, hereto attached as Ex 4

415 On December 11, 2002 after speaking with Mr Ransom, WPAS faxed Mr
Ransom materials further detailing its authority to obtam the requested materials, which
included a case that directly addressed the District’s concerns regarding release of the requested
mnformation Decl. of Herivel 4 6

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416 On December 19, 2002, WPAS again requested that the District provide the
requested information The District, through its counsel, again refused to provide the
information. Decl of Girard at {5

417 On December 19, 2002, WPAS also verbally requested that the District provide,
at a minimum, the policy and program materials requested in 1ts December 6, 2002 letter See
Decl of Girard 77, Ex 4 The District did not respond to this request until over one month
later Decl of Herivel 911, Ex 3 On January 27th, 2003, the District sent only handful of
general brochures regarding Heritage High School’s “Work Experience” program, but
continued to refuse to disclose the remainder of the requested information /d

418 In response to the District’s verbally stated refusal on December 11" and
December 19", 2002 to produce the requested formation based upon tts belief that WPAS
lacked the federal statutory authority to obtain the requested materials, WPAS submitted a
written overview to the District on January 15, 2003 detailmg WPAS’ federal statutory and
regulatory authority See Decl of Herivel, Letter from Herivel to Ransom, dated January 15,
2003, hereto attached as Ex. 3C In that letter, WPAS reiterated that federal statutes require
production of requested documents by the District within 3 days, and gave the District one
additional week to produce the requested records. /d

419 In addition, WPAS informed the District in the January 15, 2003 letter that it
was also required to produce the names and addresses of the guardians of all children addressed
in WPAS’ original records request dated December 6, 2002, as required by 45 CFR §1386 22
(h)(), which provides that “[i]fa system is demed access to facilities and 1ts programs,
individuals with developmental disabilities, or records covered by the Act it shall be provided
promptly with a written statement of reasons, including, in the case of a demal for alleged lack
of authorization, the name and address of the legal guardian, conservator, or other legal
representative of an individual with developmental disabilities”, see Decl of Herivel, Letter
from Herivel to Ransom, dated January 15, 2003, Ex 3C
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420 The Distnct again verbally refused to produce the directory information m a
phone conversation from Mr Ransom to WPAS on January 22, 2003 See Decl of Herivel
€11,Ex 3 To date, the District has also refused to provide its reasoning for denying the
request in writing to WPAS as required by 42 USC §15043(a)(Dd) /d at 914, Decl of
Girard J 8, Ex. 4

421 The District has continued, to date, to refuse to disclose the requested
information, to provide WPAS with its reasoning for denying the requested information in
writing, or to provide WPAS the names, addresses of the affected students’ parents, guardians
of representatives as required by federal law Consequently, WPAS 1s unable to fulfill its
federal mandate to investigate the complatnts of abuse, neglect and/or discrimination due to
disability against children with disabilities who attend school in the District

422 Defendants have been made well aware of, and been informed by WPAS of
WPAS’ federal access authority to the requested information

4.23 Defendant Melching has acted in his official capacities to create and maintain
practices, policies and procedures that hamper the Congressionally mandated functions and
duties of WPAS

424 The exhaustion of administrative remedies, if any are available, 1s not required
in that WPAS seeks declaratory and injunctive relief. As described in the foregoing
paragraphs, WPAS has attempted to resolve its access issues informally with the District This
attempt has proven unsuccessful

425 WPAS and its potential clients have suffered and continue to suffer immediate,
direct and irreparable injury to their statutory and Constitutional interests in investigating
WPAS’ probable cause belief that children with disabilities who attend school in the District
suffer abuse, neglect and/or discrimination due to their disabilities because of the District’s
continued delay and refusal to provide WPAS with full, effective, and meaningful access to
such children and to the directory information of children with disabilities in the District, to

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which WPAS is entitled under the DD, PAIMI, PAIR, and PATBI Acts, and the regulations
promulgated thereto.

426 WPAS has standing to bring this action on its own behalf because the refusal or
denial of access to directory information by the District constitutes an injury in fact to WPAS’
legally protected interests This injury 1s concrete, particularized, actual, and imminent There
iS a causal relationship between the myury and defendants’ challenged conduct, and a favorable
decision by this Court will redress the injury

427 WPAS has no adequate remedy at law

V. LEGAL CLAIMS

1) Count I: Violation of WPAS’ Rights Under 42 U.S.C. §§ 10541, et seq. as
amended, and 10801 et seq. as amended, 29 U.S.C. § 794e, 300d-52 and the Underlying
Regulations

51 WPAS hereby realleges and incorporates herein paragraphs 1.1 - 4 30

52. The actions of the District, as described in this Complaint have violated, and
continue to violate, the rights of WPAS under the PAIMI , DD, PAIR and PATBI Acts, the
regulations promulgated thereto, and 42 USC § 1983, under color of law

53 WPAS has no fair, adequate, or speedy remedy at law and has and will continue
to suffer irreparable harm absent the issuance of an order from this Court granting prelummary
and permanent rehef

2) Count HI: Violation of Civil Rights

54  WPAS hereby realleges and incorporates herein paragraphs 1.1 - 5 3

35 The District’s violation of WPAS’ nghts, as alleged herein, also constitutes a
cause of action under 42 U.S C, § 1983 for violations, under color of state law of WPAS’
federal constitutional nghts including the rights of freedom of association and speech as
guaranteed by the First Amendment to the United States Constitution

56 Defendants have violated the nghts of WPAS to freedom of speech, expression,
and association as secured by the First Amendment to the Constitution of the United States and

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42 USC § 1983 by preventing WPAS from freely speaking to and associating with children
with disabilities for whom WPAS has probable cause to believe have been or may be
discriminated against, abused and/or neglected by the District

3) Count ITZ: Violation of State Law

57 Defendants have violated WPAS’ rights as guaranteed by RCW 716 A 10 080 to
be an effective protection and advocacy system and to pursue legal, admumistrative and other
appropriate remedies to protect the rights of the mentally ill and developmentally disabled and
to investigate allegations of abuse and neglect

Prayer for Relief
WHEREFORE, plaintiff Washington Protection and Advocacy System, Inc , requests

the following rehef from Court

A For an Order assuming jurisdiction over this case including the plaintiff's state
law claims,
B For an Order declaring that defendants’ actions and inactions, as described

herein, violate plaintiff's nghts under the First Amendment to the Constitution of the United
States and under the DD Act, 42 U.S.C § 15041, et seg , as amended, the PAIMI Act, 42
USC § 10801, et seg , as amended, the PAIR Act, 29 USC § 794e, the PATBI Act, 42
USC § 300d-52, and the regulations promulgated thereto and RCW 71A 010 080,

Cc For an Order directing defendants to immediately provide plaintiff WPAS with
full, meaningful and effective access to directory information for children who attend public
school in the Evergreen School District without further delay,

D For an Order awarding plaintiff tts costs and an appropriate award for their
attorneys’ fees pursuant to 42 USC § 1988, and
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E For an Order granting plaintiff such other and further relief as this Court deems

t and
just and proper

DATED this Ss day of February, 2003.

Respectfully submitted,

Washington Protection and Advocacy System,
Inc , Plaintiff

Tard Hertvel, tk #31803

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By

 

David B Girard, went 17658 >
Attorneys for Plaintiff WPAS

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